Case 1:12-cv-11817-FDS Document 53-22 Filed 06/30/15 Page 1 of 10

EXHIBIT U
Case 1:12-cv-11817-FDS Document 53-22 Filed 06/30/15 Page 2 of 10
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

_ Boston

Francis M. Roache
Police Commissioner

FROM: Deputy Superintendent Arthur W. Morgan, Jr. Aww
Bureau of Professional Standards

DATE: November 27, 1989

RE: INTERNAL AFFAIRS DIVISION RECOMMENDATIONS

I respectfully submit the recommendations of the Interna] Affairs Division
in reference to:

Case# 176-89

 

Forward to Deputy Superintendent John P. Meade 297774 Mf 36 SF

Forward to Police Commissioner through Legal Advisor 4
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Forward to Police Commissioner 4) j
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Wechaee ) Raymond L. Flynn, Mayor/POLICE DEPARTMENT/164 Berkeley Street 02116
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Case 1:12-cv-11817-FDS Document 53-22 Filed 06/30/15 Page 3 of 10
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

Beostou

FROM: Deputy Superintendent Arthur W. Morgan, Jr.
Bureau of Professional Standards

DATE: January 23, 1990

RE: DISPOSITION OF COMPLAINT CF

COMPLAINT CONTROL# 5437 CASE# 176-89

Sir:

 

Sincerely,

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“Rrthur W. Motgarsar2
Deputy Super{nzendent
Bureau of Professional Standards

AWM/deb

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os = Raymond L. Flynn, Mayor/POLICE DEPARTMENT/154 Berkeley Street 02116
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Case 1:12enuN ABI FNFD AL DecuBDENt B3-22P Ata CG/BOL16 RP age 4 of 10

Boston

To: Deputy Superintendent Arthur Morgan
From: Lt. Det. Robert Francis

Subject: Complaint from in 05437 IAD#176-89

Attachment #!

Summary of complaint from Mr.

 

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mmary of report from Officer Attachment #3

Raymond L. Flynn, Mayor/POLICE DEPARTMENT/154 Berkeley Street 02116
eee” COB004319

 
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Case 1:12@0NIEMIZNFDSL DECLBIEt 53-22P RIA OS/BOLLO RPAge 5 of 10

 

Summary of report from Attachment #5

Summary of report from Attachment #6

Summary of report from iit ‘Attachment #7

Investigation

On 10-17-89 again on the following dates, 10-18-89 and’ 10-19-89 attempts were made to.
contact Mr. [J by telephone. On 10-19-89 a certified letter was sent to Mr.
in hopes of of his responding to this Departments inquries.

As of this date 11-2-89 this Officer has not been contacted by the complainant Mr. —_— |
Finding

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BOSON LPOUIEE
Date 9-14-89
DISTRICT/UNIT__ARES D-4 _ _ CC# 91484447
To: Deputy James Claiborne
From: Lieutenant James Georgilas

Subject:
Sir:

 

BPD Form 26 COB004321
Case 4, San Deon DOCURNEIT BF-22? FRISCO BOLO RAYE 7 Of 10 page 9 of 3

[BOSTOD LPOUIEE

Date 9-14~89

DISTRICT/UNIT AREA D-4 | CCH 91484447

 

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IRoston | ee Page 1 of 2 _

Date 9-18-89

DISTRICT/UNIT____ze# Po CCH 91-484447

Deputy Superintendent Arthur W. Morgan, Jr.
Bureau of Professional Standards

Captain Paul J. Corboy
Area D

BPD Form 26

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Boston [Police Ce

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Respectiully submittted,
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Captain Paul ih ‘Gocboy
Area D

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